Case 3:16-cv-00492-L-WVG Document 84 Filed 04/20/18 PageID.968 Page 1 of 6



Tucker | Pollard
Caroline Tucker, Esq.
556 N. Diamond Bar Blvd.
Suite 213
Diamond Bar, CA 91765
Office 909-398-1800
Fax 949-269-6401
ctucker@tuckerpollard.com

Attorney for Objector
STEPHEN KRON

                             UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF CALIFORNIA


  JOANNE FARRELL, on behalf of                           )        CASE NO. 3:16-cv-00492-L-WVG
  herself and all others similarly situated,

              Plaintiff,
       v.
 BANK OF AMERICA, N.A.,
              Defendant.



                     OBJECTION TO CLASS ACTION SETTLEMENT

       Class member and objector, Stephen Kron, (“hereinafter Objector”) opposes the approval

of this class action settlement. His contact information is: P.O. Box 7015, Laguna Niguel, CA

92607, 949-283-2214. My client does not recall any information about past objections, but has

objected in the past. My past objections are not relevant, but I have objected in several cases. A

district court may approve a class action settlement only if the settlement is “fair, reasonable, and

adequate.” Fed R. Civ. P. 23(e)(2). The district court fulfills both its “duty to act as a fiduciary

who must serve as a guardian of the rights of absent class members and ... the requirement of a

searching assessment regarding attorneys' fees that should properly be performed in each case.” In


                                                 1
Case 3:16-cv-00492-L-WVG Document 84 Filed 04/20/18 PageID.969 Page 2 of 6



re Bank of Am. Corp. Securities, Derivative, and Employee Ret. Income Sec. Act (ERISA) Litig.,

772 F.3d 125, 134 (2d Cir. 2014) citing McDaniel v. Cnty. of Schenectady, 595 F.3d 411, 419 (2d

Cir. 2010).

       “Class-action settlements are different from other settlements. The parties to an ordinary

settlement bargain away only their own rights—which is why ordinary settlements do not require

court approval.” In re Dry Max Pampers Litig., 724 F.3d 713, 715 (6th Cir. 2013). Unlike ordinary

settlements, “class-action settlements affect not only the interests of the parties and counsel who

negotiate them, but also the interests of unnamed class members who by definition are not present

during the negotiations. Id. “[T]hus, there is always the danger that the parties and counsel will

bargain away the interests of unnamed class members in order to maximize their own.” Id.

       The Court must ensure that the class certification criteria have been met pursuant to the 9th

Circuit’s recent opinion in In re Hyundai and Kia Fuel Econ. Litig., 15-56014, 2018 WL 505343,

at *3–4 (9th Cir. Jan. 23, 2018):

       Rule 23 “does not set forth a mere pleading standard.” Comcast, 569 U.S. at 33,
       133 S.Ct. 1426. The plaintiff seeking class certification bears the burden of
       demonstrating that all the requirements of Rule 23 have been met. See Zinser, 253
       F.3d at 1188. This requirement means that the plaintiff must first demonstrate
       through evidentiary proof that the class meets the prerequisites of Rule 23(a), which
       provides that class certification is proper only if: “(1) the class is so numerous that
       joinder of all members is impracticable; (2) there are questions of law or fact
       common to the class; (3) the claims or defenses of the representative parties are
       typical of the claims or defenses of the class; and (4) the representative parties will
       fairly and adequately protect the interests of the class.” Fed. R. Civ. P. 23(a); see
       also Comcast, 569 U.S. at 33, 133 S.Ct. 1426. The Rule 23(a) prerequisites
       “effectively limit the class claims to those fairly encompassed by the named
       plaintiff's claims.” Dukes, 564 U.S. at 349, 131 S.Ct. 2541 (internal quotation
       marks omitted). To meet the commonality requirement of Rule 23(a)(2), the
       plaintiffs' claims “must depend upon a common contention” that is “of such a nature
       that it is capable of classwide resolution—which means that determination of its
       truth or falsity will resolve an issue that is central to the validity of each one of the
       claims in one stroke.” Id. at 350, 131 S.Ct. 2541.



                                                  2
Case 3:16-cv-00492-L-WVG Document 84 Filed 04/20/18 PageID.970 Page 3 of 6



     After carrying its burden of satisfying Rule 23(a)'s prerequisites, the plaintiff must
     establish that the class meets the prerequisites of at least one of the three types of
     class actions set forth in Rule 23(b). Fed. R. Civ. P. 23(b); Comcast, 569 U.S. at
     33, 133 S.Ct. 1426. Here, the district court certified the class under Rule 23(b)(3),
     which provides that a class action may be maintained only if “the court finds that
     the questions of law or fact common to class members predominate over any
     questions affecting only individual members, and that a class action is superior to
     other available methods for fairly and efficiently adjudicating the controversy,” and
     which lists a number of matters “pertinent to these findings.” Fed. R. Civ. P.
     23(b)(3).2
     The Rule 23(b)(3) predominance inquiry is “far more demanding” than Rule 23(a)'s
     commonality requirement. Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 624, 117
     S.Ct. 2231, 138 L.Ed.2d 689 (1997). The “presence of commonality alone is not
     sufficient to fulfill Rule 23(b)(3).” Hanlon v. Chrysler Corp., 150 F.3d 1011, 1022
     (9th Cir. 1998). Rather, a court has a “duty to take a close look at whether common
     questions predominate over individual ones,” and ensure that individual questions
     do not “overwhelm questions common to the class.” Comcast, 569 U.S. at 34, 133
     S.Ct. 1426 (internal quotation marks omitted). In short, “[t]he main concern of the
     predominance inquiry under Rule 23(b)(3) is the balance between individual and
     common issues.” Wang v. Chinese Daily News, Inc., 737 F.3d 538, 545–46 (9th
     Cir. 2013) (internal quotation marks omitted).
     Where plaintiffs bring a nationwide class action under CAFA and invoke Rule
     23(b)(3), a court must consider the impact of potentially varying state laws, because
     “[i]n a multi-state class action, variations in state law may swamp any common
     issues and defeat predominance.” Castano v. Am. Tobacco Co., 84 F.3d 734, 741
     (5th Cir. 1996). “Variations in state law do not necessarily preclude a 23(b)(3)
     action.” Hanlon, 150 F.3d at 1022. For instance, even when some class members
     “possess slightly differing remedies based on state statute or common law,” there
     may still be “sufficient common issues to warrant a class action.” Id. at 1022–
     23; see also Sullivan v. DB Investments, Inc., 667 F.3d 273, 301–02 (3d Cir. 2011)
     (discussing the “pragmatic response to certifications of common claims arising
     under varying state laws,” and citing a case that affirmed “the district court's
     decision to subsume the relatively minor differences in state law within a single
     class” as illustrative) (citing In re Prudential Ins. Co. of Am. Sales Practice Litig.
     Agent Actions, 148 F.3d 283, 315 (3d Cir. 1998)); In re Mex. Money Transfer Litig.,
     267 F.3d 743, 747 (7th Cir. 2001) (noting that even though “state laws may differ
     in ways that could prevent class treatment if they supplied the principal theories of
     recovery,” class representatives in that case met the predominance requirement in
     part by limiting “their theories to federal law plus aspects of state law that are
     uniform”). On the other hand, where “the consumer-protection laws of the affected
     States vary in material ways, no common legal issues favor a class-action approach
     to resolving [a] dispute.” Pilgrim v. Universal Health Card, LLC, 660 F.3d 943,
     947 (6th Cir. 2011).
     In determining whether predominance is defeated by variations in state law, we
     proceed through several steps. See Mazza v. Am. Honda Motor Co., 666 F.3d 581,

                                               3
Case 3:16-cv-00492-L-WVG Document 84 Filed 04/20/18 PageID.971 Page 4 of 6



       590 (9th Cir. 2012). First, the class action proponent must establish that the forum
       state's substantive law may be constitutionally applied to the claims of a nationwide
       class. Id. at 589–90.3 If the forum state's law meets this requirement, the district
       court must use the forum state's choice of law rules to determine whether the forum
       state's law or the law of multiple states apply to the claims. Id. at 590. “[I]f the
       forum state's choice-of-law rules require the application of only one state's laws to
       the entire class, then the representation of multiple states within the class does not
       pose a barrier to class certification.” Johnson v. Nextel Commc'ns Inc., 780 F.3d
       128, 141 (2d Cir. 2015). But if class claims “will require adjudication under the
       laws of multiple states,” Wash. Mut. Bank, FA v. Superior Court, 24 Cal. 4th 906,
       922, 103 Cal.Rptr.2d 320, 15 P.3d 1071 (2001), then the court must determine
       whether common questions will predominate over individual issues and whether
       litigation of a nationwide class may be managed fairly and efficiently. Id. As with
       any other requirement of Rule 23, plaintiffs seeking class certification bear the
       burden of demonstrating through evidentiary proof that the laws of the affected
       states do not vary in material ways that preclude a finding that common legal issues
       predominate. See Castano, 84 F.3d at 741 (indicating that class action proponents
       must show that variations in state laws will not affect predominance; “[a] court
       cannot accept such an assertion on faith.”) (quoting Walsh v. Ford Motor Co., 807
       F.2d 1000, 1016 (D.C. Cir. 1986) (Ruth Bader Ginsburg, J.)).In re Hyundai and
       Kia Fuel Econ. Litig., 881 F.3d 679, 690-691 (9th Cir. 2018).

       In addition to ensuring that class certification criteria have been met, the Court must also

evaluate the settlement for any potential collusion between class counsel and defendant. The Court

“must be particularly vigilant not only for explicit collusion, but also for more subtle signs that

class counsel have allowed pursuit of their own self interests … to infect the negotiations.” In re

Bluetooth Headset Prod. Liab. Litig., 654 F.3d 935, 947 (9th Cir. 2011). Rather than explicit

collusion, there need only be acquiescence for such self-dealing to occur: “a defendant is interested

only in disposing of the total claim asserted against it” and “the allocation between the class

payment and the attorneys’ fees is of little or no interest to the defense.” Id. at 949 (quoting Staton

v. Boeing Co., 327 F.3d 938, 964 (9th Cir. 2003) and In re Gen. Motors Corp. Pickup Truck Fuel

Tank Prod. Liab. Litig., 55 F.3d 768, 819-20 (3d Cir. 1995).

       Here, class counsel has secured the class a benefit of $66.6 million of the possible

recoverable damage of $756 million it could have recovered at trial. This compensation is not



                                                  4
Case 3:16-cv-00492-L-WVG Document 84 Filed 04/20/18 PageID.972 Page 5 of 6



adequate for the class, especially considering that class counsel had already overcome, by its own

admission, some large hurdles in potentially prevailing at trial.

       Furthermore, class counsel has secured its own payday of $16.65 million, which, when

compared to its lodestar, it outrageously high. Class counsel expects to expend 2,158 hours, which

includes anticipated hours after final approval, with rates ranging from $250 - $825 per hour.

While $250 may be a reasonable rate, $825 is not reasonable. Even with these extraordinary rates,

the lodestar is still $1,428,047.50. An award of $16.65 million equate to a multiplier of 11.66. A

multiplier of 11.66 is both shocking and offensive.

       Though this circuit has established 25% of the common fund as a benchmark award for

attorney fees, this amount is excessive when compared to its lodestar of 11.66 multiplier. A district

court must also provide adequate justification for the use of a multiplier, which is appropriate in

only “rare” or “exceptional” cases. See Perdue v. Kenny A. ex rel. Winn, 559 U.S. 542, 554, 130

S.Ct. 1662, 176 L.Ed.2d 494 (2010). Even if the Court were to find that this case is “rare” or

“exceptional,” there is no way that a multiplier of 11.66 multiplier is remotely reasonable. The

Court should order that class counsel receives its lodestar with no multiplier and disburse the

remaining $15 million to the class. Additionally, the Court should evaluate the value of the total

settlement compared to the amount received by individual members.

       Costs related to administration of the settlement should not be included in calculating the

fee award. If the Court were to include these costs, it would have “eliminated the incentive of

class counsel to economize on that expense—and indeed may have created a perverse incentive;

for higher administrative expenses make class counsel's proposed fee appear smaller in relation to

the total settlement than if those costs were lower.” Redman v. RadioShack Corp., 768 F.3d 622,

630 (7th Cir. 2014).



                                                 5
Case 3:16-cv-00492-L-WVG Document 84 Filed 04/20/18 PageID.973 Page 6 of 6
